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6
                                  UNITED STATES DISTRICT COURT
7                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
8
9     UNITED STATES OF AMERICA,

10                  Plaintiff,                             Case No. CR05-334RSL

11           v.                                            ORDER ON MOTION FOR PRETRIAL
                                                           DISCLOSURE OF RULE 404(b)
12    RAJINDER JOHAL, et al.,                              EVIDENCE

13                  Defendants.

14
            This matter comes before the Court on “Defendant Johal’s Motion for Pretrial Disclosure
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     of Rule 404(b) Evidence” (Dkt. # 136). The Court has considered this motion and the
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     government’s response and finds that the government recognizes its obligations in this area. Per
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     its response, the government will disclose any 404(b) evidence it intends to use no later than one
18
     month before trial. Because there is currently nothing to be disclosed, the motion is DENIED
19
     AS MOOT.
20
21          DATED this 25th day of May, 2006.

22
23                                                    A
                                                      Robert S. Lasnik
24                                                    United States District Judge
25
26
      ORDER ON MOTION FOR PRETRIAL
      DISCLOSURE OF RULE 404(b)
      EVIDENCE
